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Proposed Counsel for the Debtor
and Debtor in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                            :
In re:                                                      :    Chapter 11
                                                            :
THE ROMAN CATHOLIC DIOCESE OF                               :    Case No. 20-12345
ROCKVILLE CENTRE, NEW YORK, 1                               :
                                                            :
                  Debtor.                                   :

                     DEBTOR’S MOTION FOR ENTRY OF INTERIM
                 AND FINAL ORDERS (I) AUTHORIZING AND APPROVING
               SPECIAL NOTICING AND CONFIDENTIALITY PROCEDURES,
          (II) AUTHORIZING AND APPROVING PROCEDURES FOR PROVIDING
         NOTICE OF COMMENCEMENT, AND (III) GRANTING RELATED RELIEF

          The above-captioned debtor and debtor in possession (the “Debtor”) moves the Court

(the “Motion”), pursuant to sections 105(a) and 107(b) of title 11 of the United States Code (the

“Bankruptcy Code”), rules 1007, 2002, 9007, 9018, and 9037 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) and rules 9018-1 and 9037-1 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the Southern

District of New York (the “Local Rules”), for entry of an interim order (the “Proposed Interim


          1
            The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the
last four digits of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue
P.O. Box 9023, Rockville Centre, NY 11571-9023.
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Order”) and final order (the “Proposed Final Order”), substantially in the forms attached hereto

as Exhibit A and Exhibit B, respectively, (i) authorizing and approving special noticing and

confidentiality procedures to protect the identities and personal contact information of victims of

abuse, minors, parents or legal guardians, and employees, (ii) authorizing the Debtor to

implement certain procedures for the mailing and publication of the notice announcing the

commencement of this chapter 11 case and the meeting of creditors to be held pursuant to section

341 of the Bankruptcy Code (the “Notice of Commencement”), and (iii) granting related relief.

The facts and circumstances supporting this Motion are set forth in the Declaration of Charles

Moore, Chief Restructuring Officer of the Roman Catholic Diocese of Rockville Centre, New

York, in Support of Chapter 11 Petition and First Day Pleadings (the “First Day Declaration”),

filed concurrently herewith. 2 In further support of this Motion, the Debtor respectfully states as

follows:

                                      JURISDICTION AND VENUE

           1.     This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue for this matter is

proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                               BACKGROUND

           2.     On October 1, 2020 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code. The Debtor continues to operate and pursue its

religious, non-profit mission and ministry, and manage its properties and affairs as a debtor in

possession under sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has

been appointed in this case, and no statutory committee has been appointed.

       2
          All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms
in the First Day Declaration, filed concurrently herewith.



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        3.      The Debtor is the seat of the Roman Catholic Church on Long Island. The State

of New York established the Debtor as a religious corporation in 1958. See 1958 N.Y. SESS.

LAWS Ch. 70 (1958), § 1. The Debtor is one of eight Catholic dioceses in New York and is the

eighth-largest diocese in the United States when measured by the number of baptized Catholics.

The Debtor’s total Catholic population is approximately 1.4 million, which constitutes roughly

half of Long Island’s total population of 3.0 million. Pursuit of the Debtor’s mission depends

upon the continuing financial support provided by the faithful in anticipation of, and in mutual

support of, the Debtor’s religious and charitable mission.

        4.      To carry out its Catholic mission, the Debtor works closely with its 135 parishes.

Parishes play a central role in the lives of Catholics by administering key aspects of the Catholic

Faith, including: baptism, education, communion, Mass, confirmation, marriage, and

bereavement, including last rites, funeral services and grief support. None of the parishes are

debtors herein. In addition, the Debtor supports separate charitable organizations to further its

pursuit of the Catholic mission to serve the poor, the hungry, those in need, and those that cannot

help themselves. None of those entities are debtors herein. The Debtor is also continuing its

outreach to comfort, educate, and enlighten the faithful, especially in these times of quarantine

and isolation due to COVID-19 protocols and precautions.

        5.      Following the enactment in 2019 of the Child Victims Act ( the “CVA”), which

revived what had been time-barred claims, approximately 200 lawsuits have been brought by

abuse claimants against the Debtor. In its effort to fairly and equitably address this tragic legacy,

the Debtor has undertaken a substantial effort to identify and marshal over 60 years of insurance

policies, including both primary and excess coverage, with the goal of securing a valuable

resource of the Debtor, its parishes, and its affiliates, so that it can be used for the care and




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compensation of abuse survivors. The Debtor has made such insurance policies and related

information, together with historical financial information for itself and its charitable,

educational, and service affiliates, available to counsel for the abuse claimants and the Debtor’s

insurers.

       6.       Additional information regarding the Debtor, its mission and operations, and the

events and circumstances preceding the Petition Date is set forth in the Declaration of Charles

Moore, Managing Director of Alvarez & Marsal North America, LLC, Proposed Restructuring

Advisor to the Roman Catholic Diocese of Rockville Centre, New York, in Support of Chapter 11

Petition and First Day Pleadings (the “First Day Declaration”) filed on the Petition Date.

                                      RELIEF REQUESTED

       7.       By this Motion, the Debtor requests the entry of the Proposed Interim Order and

the Proposed Final Order, substantially in the forms attached hereto as Exhibits A and B

respectively:

                (a)     Authorizing and approving the Confidentiality Procedures (defined
                        below), which are designed to protect plaintiffs, minors, parents or legal
                        guardians, and employees, as more fully described herein;
                (b)     authorizing the Debtor to implement certain procedures for the mailing
                        and publication of the Notice of Commencement; and
                (c)     granting related relief, including scheduling a final hearing (the “Final
                        Hearing”) to consider approval of the Proposed Final Order.

                              BASIS FOR RELIEF REQUESTED

I.     Notice and Confidentiality Procedures

       8.       Bankruptcy Rule 1007(a) requires a debtor to file with the petition for relief a list

containing the name and address of each creditor (the “Creditor Matrix”). Section 107(b) of the

Bankruptcy Code provides bankruptcy courts with the power to issue orders that will protect

persons from potential harm that may result from the disclosure of certain confidential



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information. See 11 U.S.C. § 107(b)(2) (“On request of a party in interest, the bankruptcy court

shall, and on the bankruptcy court’s own motion, the bankruptcy court may protect a person with

respect to scandalous or defamatory matter contained in a paper filed in a case under this title.”).

Although section 107(b) of the Bankruptcy Code is an exception to the general rule of open

disclosure, its application in this bankruptcy proceeding is appropriate. See In re Orion Pictures

Corp., 21 F.3d 24, 27 (2d Cir. 1994) (“Congress, itself, has recognized that under compelling or

extraordinary circumstances, an exception to the general policy of public access is necessary

. . . . Section 107(b) of the Bankruptcy Code, a statutory exception to the broad principle of §

107(a), [ ] responds to this need.”).

        9.      Section 107(c) of the Bankruptcy Code provides that the court “for cause, may

protect an individual, with respect to the following types of information to the extent the court

finds that disclosure of such information would create undue risk of identity theft or other

unlawful injury . . . [a]ny means of identification . . . contained in a paper filed, or to be filed, in

a case under” the Bankruptcy Code. Further, Bankruptcy Rule 9018 provides, in relevant part,

that on motion or by its own initiative “the court may make any order which justice requires . . .

to protect any entity against scandalous or defamatory matter contained in any paper filed in a

case under the Code. . . .” FED. R. BANKR. P. 9018. Bankruptcy Rule 9037 specifies that unless

the Court orders otherwise, a filing may include only a minor’s initials. FED. R. BANKR. P.

9037(a)(3).

        A.      Confidentiality Procedures

        10.     To protect the confidentiality of the identities and personal contact information of

certain holders of claims against the Debtor arising from allegations of abuse (“Abuse Claims”),

including certain litigants that have commenced prepetition lawsuits against the Debtor using a




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Doe or other pseudonym (collectively, “Doe Claimants”), minors, and current and former

employees of the Debtor, the Debtor is requesting entry of the Proposed Interim Order and the

Proposed Final Order authorizing the redaction of the Creditor Matrix, the schedules of assets

and liabilities, and any pleadings or other documents, including affidavits of service, filed in this

chapter 11 case containing such information in accordance with the following procedures (the

“Confidentiality Procedures”):

               (a)     the Debtor shall file on the docket of this chapter 11 case a copy of the
                       Creditor Matrix, and any amended Creditor Matrices:

                       (i)     redacting the names of and listing the contact information for
                               counsel of record, where known, for, (A) each holder of an Abuse
                               Claim, including the Doe Claimants, and (B) the parents or legal
                               guardian of any minor involved in litigation against the Debtor, in
                               each case in lieu of including the names and personal contact
                               information of any holder of an Abuse Claim or parents or legal
                               guardian of any such minor. In the event that no counsel of record
                               exists, the identities and all other personal contact information of
                               holders of Abuse Claims, including the Doe Claimants, minors,
                               and parents or legal guardians of minors involved in litigation
                               against the Debtor, shall be redacted; and

                       (ii)    redacting personal contact information for any current or former
                               employee of the Debtor.

               (b)     the Debtor shall provide an unredacted copy of the Creditor Matrix, and
                       any amended Creditor Matrices, within two (2) business days of the filing
                       of such Creditor Matrix, or amended Creditor Matrices, to: (i) the Clerk
                       of the Court; (ii) the U.S. Trustee; (iii) any statutory creditors’
                       committee(s) appointed in this chapter 11 case under section 1102 of the
                       Bankruptcy Code (the “Creditors’ Committee(s)”); and (iv) any future
                       claimants’ representative appointed in this case. For purposes of this
                       Motion, the Clerk of the Court, the U.S. Trustee, the Creditors’
                       Committee(s), and any future claimants’ representative are collectively
                       referred to as the “Distribution Parties”;

               (c)     all documents filed in this chapter 11 case or any related adversary
                       proceedings, including, without limitation, affidavits of service, schedules
                       of assets and liabilities, and statements of financial affairs, shall be filed
                       on the docket in redacted form in accordance with subparagraph (a) above;




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               (d)     the Debtor shall, within two (2) business days of a request of any
                       Distribution Party, provide to such Distribution Party an unredacted copy
                       of any document filed on the docket of this chapter 11 case or any related
                       adversary proceedings that have been redacted in accordance with these
                       Confidentiality Procedures; and

               (e)     the Distribution Parties shall keep strictly confidential all copies of
                       unredacted documents provided by the Debtor in accordance with
                       subparagraphs (b) or (d) set forth above.

       B.      Holders of Abuse Claims

       11.     The Debtor is a defendant in approximately 209 prepetition lawsuits asserting

Abuse Claims and the Debtor is aware of certain other holders of Abuse Claims that have not

commenced lawsuits prepetition, but may, for example, have been participating in the

Independent Reconciliation and Compensation Program (described in the First Day Declaration)

prior to the Petition Date. While some abuse victims have made their Abuse Claims public,

many of the lawsuits alleging Abuse Claims have been filed by Doe Claimants who wish to

remain anonymous.

       12.     Due to the nature of the allegations by holders of Abuse Claims, including the

Doe Claimants, which pertain to sexual abuse, the redaction of the identities and personal contact

information from all documents filed in this chapter 11 case will aid in protecting such persons

against the disclosure of a scandalous matter in publicly filed Court documents.

       13.     The Confidentiality Procedures are also consistent with certain of the Debtor’s

other confidentiality obligations. With regard to certain Doe Claimants, and as reflected in

certain court-ordered stipulations filed in prepetition lawsuits, the Debtor has agreed to designate

certain Doe Claimants with pseudonyms in public filings in New York state court to preserve the

anonymity of such Doe Claimants. As described above, the Confidentiality Procedures will

preserve the anonymity of such Doe Claimants.

       14.     Additionally, and as described in further detail in the First Day Declaration, the


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Debtor has committed to all participants in the Independent Reconciliation and Compensation

Program (the “IRCP”) that their claims and associated information will remain confidential

without regard to whether a resolution is reached. The participants, however, remain free to

disclose or discuss their claim and/or the compensation determination of their own claim.

Certain holders of Abuse Claims may have participated in the IRCP and failed to reach a

resolution of their claim. The Debtor will include any such Abuse Claims in its Creditor Matrix.

As described above, the Confidentiality Procedures will preserve the confidentiality of such

Abuse Claims.

       15.      In recognition of the sensitivity of disclosure related to these litigants, the Debtor

respectfully submits that the Court has the authority to approve the Confidentiality Procedures

described above and should authorize the Confidentiality Procedures to protect the privacy of

abuse victims and preserve their identities from public disclosure.

       C.       Creditor Matrix

       16.      The Creditor Matrix will also include current and retired employees of the Debtor.

In order to protect against the risk of identity theft and the disclosure of personal identifying

information, the Debtor is requesting authority to redact the home addresses and other personal

contact information for these individuals.

       17.      Pursuant to section 107 of the Bankruptcy Code, the Debtor respectfully submits

that it is appropriate to authorize the Debtor to redact from any paper filed with the Court in this

chapter 11 case personal contact information of the Debtor’s employees because such

information could be used to perpetrate identity theft. The threat of identity theft is of particular

importance in these proceedings, which the Debtor expects to garner substantial media publicity.

The Debtor proposes to provide an unredacted version of the Creditor Matrix and any related




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schedules and statements of financial affairs to the U.S. Trustee and the other Distribution

Parties, along with other parties in interest upon reasonable request.

       18.     Courts routinely grant similar relief in comparable chapter 11 cases. See, e.g., In

re Diocese of Rochester, Case No. 19-20905 (Bankr. W.D.N.Y. Sept. 13, 2019) [ECF No. 29]

(authorizing the debtor to file portions of the schedules and creditor matrix under seal); In re

Charming Charlie Holdings Inc., Case No. 19-11534 (Bankr. D. Del. July 12, 2019), [ECF No.

74] (granting authority to redact “personal information of [the debtors’] employees and former

employees listed on the Creditor Matrix,” subject to providing unredacted versions upon

reasonable request by parties in interest); In re Cloud Peak Energy Inc., Case No. 19-11047

(Bankr. D. Del. May 14, 2019), [ECF No. 97] (providing that the Debtors were “authorized to

redact the address information of employees from any list of creditors”); In re CGG Holdings

(U.S) Inc., No. 17-11637 (MG) (Bankr. S.D.N.Y. June 14, 2017), [ECF No. 306] (authorizing the

Debtors to redact certain personal information of certain current employees and former

employees from the statements and schedules); In re Soundview Elite LTD., No. 13-13098

(REG) (Bankr. S.D.N.Y. 2017) [ECF No. 404] (authorizing the Trustee to identify each investor

by a descriptive identifier only and redact the investor addresses from the Schedules and

Statements to comply with Cayman Islands Privacy Laws).

II.    Notice of Commencement and Publication Notice

       19.     Bankruptcy Rule 2002(a)(1) provides that the clerk (or other person as directed by

the court) must give the debtor, the trustee, all creditors, and any indenture trustee at least

twenty-one (21) days’ notice by mail of the meeting of creditors under section 341 of the

Bankruptcy Code. Bankruptcy Rules 2002(m) and 9007 empower the Court with the general

authority to regulate the manner in which notices required under the Bankruptcy Rules are

provided. Specifically, Bankruptcy Rule 2002(m) provides that “[t]he court may from time to


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time enter orders designating the matters in respect to which, the entity to whom, and the form

and manner in which notices shall be sent except as otherwise provided by these rules.” FED. R.

BANKR. P. 2002(m). Furthermore, the Bankruptcy Court has authority under Bankruptcy Rule

2002(l) to “order notice by publication if it finds that notice by mail is impracticable or that it is

desirable to supplement the notice.” FED. R. BANKR. P. 2002(l).

       20.     Bankruptcy Rule 9007 provides that “[w]hen notice is to be given under these

rules, the court shall designate, if not otherwise specified herein, the time within which, the

entities to whom, and the form and manner in which the notice shall be given.” FED. R. BANKR.

P. 9007. Section 105(a) of the Bankruptcy Code adds that “[t]he Court may issue any order,

process, or judgment that is necessary or appropriate to carry out the provisions of this title.” 11

U.S.C. § 105(a).

       21.     While certain abuse victims have made their Abuse Claims public, a substantial

number of the Abuse Lawsuits have been filed by Doe Claimants who wish to remain

anonymous. The Debtor requests authority to have Epiq Corporate Restructuring, LLC, the

Debtor’s authorized claims and noticing agent (the “Claims and Noticing Agent”), send the

Notice of Commencement to: (i) holders of Abuse Claims and their known counsel for whom

the Debtor obtained sufficient contact information within the three years immediately preceding

the Petition Date and who have: (a) filed, or threatened to file, lawsuits against the Debtor on

account of Abuse Claims; (b) otherwise contacted the Debtor to report Abuse Claims; (c)

participated in the Debtor’s Independent Reconciliation and Compensation Program; (d) entered

into any settlement agreement with the Debtor relating to an Abuse Claim; or (e) received any

payment from the Debtor relating to an Abuse Claim, and (ii) counsel of record for the holders of

Abuse Claims. In addition, the Debtor seeks authority to have the Claims and Noticing Agent




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mail the Notice of Commencement to the creditors identified on the Creditor Matrix.

       22.     Due to the unquantified number of “unknown” claimants who may hold Abuse

Claims in these chapter 11 case, the Debtor also proposes to publish, as soon as practicable, the

Notice of Commencement (i) once (in the national editions, as relevant) of The New York

Times, The Wall Street Journal, USA Today, Newsday, The National Catholic Register, The

National Catholic Reporter, Long Island Catholic, and Fe Fuerza Vida, and (ii) on the Case

Website (as defined below). Publication of the Notice of Commencement as proposed above is

the most practical method by which to notify unknown holders of Abuse Claims who do not

receive the Notice of Commencement by mail and other parties in interest of the commencement

of this chapter 11 case. Notice by publication will also ensure an efficient use of limited estate

resources.

       23.     Additionally, the Debtor, through the Claims and Noticing Agent, has established

a dedicated case website (the “Case Website”) and toll-free number in connection with this

chapter 11 case. The Case Website address and toll-free number will be prominently displayed

in all printed notice documents, as well as other relevant information relating to this chapter 11

case. Included within the Case Website will be a page specifically tailored to, and designed for,

abuse victims, which will, among other things, inform them in plain English of important dates

and deadlines, afford them the ability to view key documents in this chapter 11 case free of

charge, and allow them (and other creditors) to register their email addresses and consent to

electronic notice for the duration of this case. If elected, any further notices that are required to

be sent to such parties would be sent by email during this case.

       24.     The Debtor submits that the approval of the form and manner of the Notice of

Commencement, as set forth above, is appropriate in this chapter 11 case and is well within the




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Court’s equitable powers under section 105 of the Bankruptcy Code and Bankruptcy Rule 9007.

The Debtor is confident that these publications are most likely to reach those creditors and

parties in interest who may not have received notice by mail. Accordingly, the Debtor

respectfully requests that this Court approve the form and manner of service, including notice by

publication, of the Notice of Commencement in the foregoing manner.

                                             NOTICE

       25.     Notice of this Motion will be provided to: (a) the Office of the United States

Trustee for Region 2; (b) the 35 law firms representing the largest number of holders of CVA

claims against the Debtor; (c) the Internal Revenue Service, (d) the office of the attorney general

for the State of New York; (e) the United States Attorney’s Office for the Southern District of

New York; and (f) any party that has requested notice pursuant to Bankruptcy Rule 2002. As

this Motion is seeking “first day” relief, this Motion and any order entered hereon will be served

in accordance with the Local Rules. Due to the nature of the relief requested herein, the Debtor

respectfully submits that no further notice of this Motion is necessary.

                                     NO PRIOR REQUEST

       26.     No prior request for the relief sought herein has been made to this Court or any

other court.



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       WHEREFORE, the Debtor respectfully requests that the Court enter the Proposed Order

and such other and further relief as may be appropriate.

 Dated: October 1, 2020                                Respectfully submitted,
 (New York, New York)
                                                       /s/ Corinne Ball
                                                       Corinne Ball
                                                       Todd Geremia
                                                       Benjamin Rosenblum
                                                       Andrew M. Butler
                                                       JONES DAY
                                                       250 Vesey Street
                                                       New York, NY 10281-1047
                                                       Telephone: (212) 326-3939
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                                                       Proposed Counsel for the Debtor and
                                                       Debtor-in-Possession




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                                  EXHIBIT A

                             Proposed Interim Order
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                            :
In re:                                                      :    Chapter 11
                                                            :
THE ROMAN CATHOLIC DIOCESE OF                               :    Case No. 20-12345 (___)
ROCKVILLE CENTRE, NEW YORK, 1                               :
                                                            :
                  Debtor.                                   :


                  INTERIM ORDER (I) AUTHORIZING AND APPROVING
               SPECIAL NOTICING AND CONFIDENTIALITY PROCEDURES,
          (II) AUTHORIZING AND APPROVING PROCEDURES FOR PROVIDING
         NOTICE OF COMMENCEMENT, AND (III) GRANTING RELATED RELIEF

                  Upon the motion (“Motion”) 2 of The Roman Catholic Diocese of Rockville

Centre, New York, the non-profit corporation that is debtor and debtor in possession in the

above-captioned chapter 11 case (the “Debtor”), for entry of an order (this “Interim Order”), (ii)

authorizing and approving special noticing and confidentiality procedures to protect the identities

of victims of abuse, minors, parents or legal guardians, and employees, (iii) authorizing the

Debtor to implement certain procedures for the mailing and publication of the notice announcing

the commencement of this chapter 11 case and the meeting of creditors to be held pursuant to

section 341 of the Bankruptcy Code (the “Notice of Commencement”); and upon consideration

of the First Day Declaration; and this Court having jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334 the Amended Standing Order of Reference from the United States

District Court for the Southern District of New York, dated January 31, 2012; and this matter

being a core proceeding within the meaning of 28 U.S.C. § 157(b)(2); and venue of this

          1
            The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the
last four digits of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue
P.O. Box 9023, Rockville Centre, NY 11571-9023.
          2
          Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in
the Motion.
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proceeding and the Motion in this District being proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and appropriate notice of and the opportunity for a hearing on the Motion having been given and

it appearing that no other or further notice need be provided; and this Court having reviewed the

Motion and having heard the statements in support of the relief requested therein at a hearing

before this Court; and all objections, if any, to the Motion having been withdrawn, resolved, or

overruled; and the relief requested in the Motion being in the best interests of the Debtor’s

estates, their creditors, and other parties in interest; and this Court having determined that the

legal and factual bases set forth in the Motion establish just cause for the relief granted herein;

and after due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED

THAT:

          1.   The relief requested in the Motion is GRANTED on an interim basis as set forth

herein.

          2.   The Final Hearing on the Motion shall be held on __________, 2020 at ___:___

__.m., prevailing Eastern Time. Any objections or responses to entry of a final order (the “Final

Order”) on the Motion shall be filed no later than 4:00 p.m., prevailing Eastern Time, on

____________, 2020 (the “Objection Deadline”) and served on the following parties: (i) the

Debtor, Roman Catholic Diocese of Rockville Centre, 50 North Park Avenue P.O. Box 9023,

Rockville Centre, NY 11571, Attn: Thomas Renker; (ii) proposed counsel to the Debtor, Jones

Day, 250 Vesey St, New York, New York 10281, Attn: Corinne Ball, Esq., Benjamin

Rosenblum, Esq., and Andrew Butler, Esq. (iii) the U.S. Trustee, U.S. Federal Office Building

201 Varick Street, Suite 1006 New York, NY 10014, Attn: Greg Zipes and Shara Cornell;

(iv) counsel to any statutory committee appointed in this chapter 11 case; and (v) any party that

has requested notice pursuant to Bankruptcy Rule 2002.




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       3.     To protect the identities of abuse victims, minors, parents or legal guardians,

employees, and other applicable parties in interest, the following “Confidentiality Procedures”

are hereby approved:

              (a)      the Debtor shall file on the docket of this chapter 11 case a copy of the
                       Creditor Matrix, and any amended Creditor Matrices:

                       (i)     redacting the names of and listing the contact information for
                               counsel of record, where known, for, (A) each holder of an Abuse
                               Claim, including the Doe Claimants, and (B) the parents or legal
                               guardian of any minor involved in litigation against the Debtor, in
                               each case in lieu of including the names and personal contact
                               information of any holder of an Abuse Claim or parents or legal
                               guardian of any such minor. In the event that no counsel of record
                               exists, the identities and all other personal contact information of
                               holders of Abuse Claims, including the Doe Claimants, minors,
                               and parents or legal guardians of minors involved in litigation
                               against the Debtor, shall be redacted; and

                       (ii)    redacting personal contact information for any current or former
                               employee of the Debtor.

              (b)      the Debtor shall provide an unredacted copy of the Creditor Matrix, and
                       any amended Creditor Matrices, within two (2) business days of the filing
                       of such Creditor Matrix, or amended Creditor Matrices, to: (i) the Clerk
                       of the Court; (ii) the U.S. Trustee; (iii) any statutory creditors’
                       committee(s) appointed in this chapter 11 case under section 1102 of the
                       Bankruptcy Code (the “Creditors’ Committee(s)”); and (iv) any future
                       claimants’ representative appointed in this case. For purposes of this
                       Motion, the Clerk of the Court, the U.S. Trustee, the Creditors’
                       Committee(s), and any future claimants’ representative are collectively
                       referred to as the “Distribution Parties”;

              (c)      all documents filed in this chapter 11 case or any related adversary
                       proceedings, including, without limitation, affidavits of service, schedules
                       of assets and liabilities, and statements of financial affairs, shall be filed
                       on the docket in redacted form in accordance with subparagraph (a) of this
                       Interim Order;

              (d)      the Debtor shall, within two (2) business days of a request of any
                       Distribution Party, provide to such Distribution Party an unredacted copy
                       of any document filed on the docket of this chapter 11 case or any related
                       adversary proceedings that have been redacted in accordance with these
                       Confidentiality Procedures; and



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               (e)     the Distribution Parties shall keep strictly confidential all copies of
                       unredacted documents provided by the Debtor in accordance with
                       subparagraphs (b) or (d) of this Interim Order.

       4.      Notwithstanding anything herein to the contrary, the Debtor shall, through the

Claims and Noticing Agent, serve the Notice of Commencement upon the parties listed on the

Creditor Matrix, including, without limitation, (i) holders of Abuse Claims for whom the Debtor

obtained sufficient contact information within the three years immediately preceding the Petition

Date and who have: (a) filed, or threatened to file, lawsuits against the Debtor on account of

Abuse Claims; (b) otherwise contacted the Debtor to report Abuse Claims; (c) participated in the

Debtor’s Independent Reconciliation and Compensation Program; (d) entered into any settlement

agreement with the Debtor relating to an Abuse Claim; or (e) received any payment from the

Debtor relating to an Abuse Claim, and (ii) counsel of record for the holders of Abuse Claims.

       5.      Pursuant to Bankruptcy Rule 2002(l), the Debtor, with the assistance of the

Claims and Noticing Agent, shall (a) cause the Notice of Commencement to be published once

(in the national editions, as relevant) of The New York Times, The Wall Street Journal, USA

Today, Newsday, The National Catholic Register, The National Catholic Reporter, Long Island

Catholic, and Fe Fuerza Vida, and (b) post the Notice of Commencement on the Case Website

(https://dm.epiq11.com/drvc) established by the Claims and Noticing Agent.

       6.      The form and manner of notice provided herein, including in the Confidentiality

Procedures, are reasonably calculated to inform interested parties of this chapter 11 case and are

hereby approved in their entirety.

       7.      The relief requested herein is authorized subject to and until such relief is heard at

the Final Hearing.

       8.      The Debtor is authorized to take all actions necessary to effectuate the relief

granted in this Interim Order in accordance with the Motion.


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       9.      This Court shall retain exclusive jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement of this Interim Order.




Dated: ________________, 2020                     UNITED STATES BANKRUPTCY JUDGE




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                                   Exhibit B

                              Proposed Final Order
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                            :
In re:                                                      :    Chapter 11
                                                            :
THE ROMAN CATHOLIC DIOCESE OF                               :    Case No. 20-12345 (___)
ROCKVILLE CENTRE, NEW YORK, 1                               :
                                                            :
                  Debtor.                                   :


                   FINAL ORDER (I) AUTHORIZING AND APPROVING
               SPECIAL NOTICING AND CONFIDENTIALITY PROCEDURES,
          (II) AUTHORIZING AND APPROVING PROCEDURES FOR PROVIDING
         NOTICE OF COMMENCEMENT, AND (III) GRANTING RELATED RELIEF

          Upon the motion (“Motion”) 2 of The Roman Catholic Diocese of Rockville Centre, New

York, the non-profit corporation that is debtor and debtor in possession in the above-captioned

chapter 11 case (the “Debtor”), for entry of an order (this “Final Order”), (ii) authorizing and

approving special noticing and confidentiality procedures to protect the identities of victims of

abuse, minors, parents or legal guardians, and employees, (iii) authorizing the Debtor to

implement certain procedures for the mailing and publication of the notice announcing the

commencement of this chapter 11 case and the meeting of creditors to be held pursuant to section

341 of the Bankruptcy Code (the “Notice of Commencement”); and upon consideration of the

First Day Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C.

§§ 157 and 1334 the Amended Standing Order of Reference from the United States District Court

for the Southern District of New York, dated January 31, 2012; and this matter being a core


          1
            The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the
last four digits of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue
P.O. Box 9023, Rockville Centre, NY 11571-9023.
          2
          Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in
the Motion.
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proceeding within the meaning of 28 U.S.C. § 157(b)(2); and venue of this proceeding and the

Motion in this District being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and appropriate

notice of and the opportunity for a hearing on the Motion having been given and it appearing that

no other or further notice need be provided; and this Court having reviewed the Motion and

having heard the statements in support of the relief requested therein at a hearing before this

Court; and all objections, if any, to the Motion having been withdrawn, resolved, or overruled;

and the relief requested in the Motion being in the best interests of the Debtor’s estates, their

creditors, and other parties in interest; and this Court having determined that the legal and factual

bases set forth in the Motion establish just cause for the relief granted herein; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

          1.   The relief requested in the Motion is GRANTED on a final basis as set forth

herein.

          2.    To protect the identities of abuse victims, minors, parents or legal guardians,

employees, and other applicable parties in interest, the following “Confidentiality Procedures”

are hereby approved:

               (a)     the Debtor shall file on the docket of this chapter 11 case a copy of the
                       Creditor Matrix, and any amended Creditor Matrices:

                       (i)     redacting the names of and listing the contact information for
                               counsel of record, where known, for, (A) each holder of an Abuse
                               Claim, including the Doe Claimants, and (B) the parents or legal
                               guardian of any minor involved in litigation against the Debtor, in
                               each case in lieu of including the names and personal contact
                               information of any holder of an Abuse Claim or parents or legal
                               guardian of any such minor. In the event that no counsel of record
                               exists, the identities and all other personal contact information of
                               holders of Abuse Claims, including the Doe Claimants, minors,
                               and parents or legal guardians of minors involved in litigation
                               against the Debtor, shall be redacted; and

                       (ii)    redacting personal contact information for any current or former
                               employee of the Debtor.


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              (b)     the Debtor shall provide an unredacted copy of the Creditor Matrix, and
                      any amended Creditor Matrices, within two (2) business days of the filing
                      of such Creditor Matrix, or amended Creditor Matrices, to: (i) the Clerk
                      of the Court; (ii) the U.S. Trustee; (iii) any statutory creditors’
                      committee(s) appointed in this chapter 11 case under section 1102 of the
                      Bankruptcy Code (the “Creditors’ Committee(s)”); and (iv) any future
                      claimants’ representative appointed in this case. For purposes of this
                      Motion, the Clerk of the Court, the U.S. Trustee, the Creditors’
                      Committee(s), and any future claimants’ representative are collectively
                      referred to as the “Distribution Parties”;

              (c)     all documents filed in this chapter 11 case or any related adversary
                      proceedings, including, without limitation, affidavits of service, schedules
                      of assets and liabilities, and statements of financial affairs, shall be filed
                      on the docket in redacted form in accordance with subparagraph (a) of this
                      Final Order;

              (d)     the Debtor shall, within two (2) business days of a request of any
                      Distribution Party, provide to such Distribution Party an unredacted copy
                      of any document filed on the docket of this chapter 11 case or any related
                      adversary proceedings that have been redacted in accordance with these
                      Confidentiality Procedures; and

              (e)     the Distribution Parties shall keep strictly confidential all copies of
                      unredacted documents provided by the Debtor in accordance with
                      subparagraphs (b) or (d) of this Final Order.

       3.     Notwithstanding anything herein to the contrary, the Debtor shall, through the

Claims and Noticing Agent, serve the Notice of Commencement upon the parties listed on the

Creditor Matrix, including, without limitation, (i) holders of Abuse Claims for whom the Debtor

obtained sufficient contact information within the three years immediately preceding the Petition

Date and who have: (a) filed, or threatened to file, lawsuits against the Debtor on account of

Abuse Claims; (b) otherwise contacted the Debtor to report Abuse Claims; (c) participated in the

Debtor’s Independent Reconciliation and Compensation Program; (d) entered into any settlement

agreement with the Debtor relating to an Abuse Claim; or (e) received any payment from the

Debtor relating to an Abuse Claim, and (ii) counsel of record for the holders of Abuse Claims.




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       4.      Pursuant to Bankruptcy Rule 2002(l), the Debtor, with the assistance of the

Claims and Noticing Agent, shall (a) cause the Notice of Commencement to be published once in

the national editions of the Wall Street Journal, USA Today, and the New York Times, and (b)

post the Notice of Commencement on the Case Website (https://dm.epiq11.com/drvc)

established by the Claims and Noticing Agent.

       5.      The form and manner of notice provided herein, including in the Confidentiality

Procedures, are reasonably calculated to inform interested parties of this chapter 11 case and are

hereby approved in their entirety.

       6.      The relief requested herein is authorized subject to and until such relief is heard at

the Final Hearing.

       7.      The Debtor are authorized to take all actions necessary to effectuate the relief

granted in this Final Order in accordance with the Motion.

       8.      This Court shall retain exclusive jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement of this Final Order.




Dated: ________________, 2020                      UNITED STATES BANKRUPTCY JUDGE




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